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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 24-CR-14045-CANNON/MAYNARD

UNITED STATES OF AMERICA

Vv.

MATTHEW S. BROWN

Defendant.
/

STIPULATED FACTUAL BASIS

By signing below, the parties stipulate to and agree not to contest the following facts and ~

stipulate that such facts, in accordance with Rule 11(b)(3) of the Federal Rules of Criminal

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Procedure, provide a sufficient factual basis for the plea of guilty to willful failure to pay trust fund
taxes, in violation of 26 United States Code, Section 7202, and aiding or assisting in the filing of |

a false tax return, in violation of Title 26, United States Code, Section 7206(2).

AS eRETEN

1. MATTHEW S. BROWN was a resident of Martin County, Florida, within the
Southern District of Florida.

2. BROWN owned and operated multiple businesses in and around the area of St.
Lucie, Martin, and Palm Beach Counties, Florida including the businesses identified as “the Brown
Entities” in the attached EXHIBIT A (“Exhibit A”).

3. One of the Brown Entities was Matthew Brown & Associates, Inc. DBA Elite
Payroll Solutions (“Elite Payroll”). Elite Payroll was a professional employer organization
(“PEO”) and payroll services company incorporated in Stuart, Florida, within the Southern District
of Florida. Elite Payroll primarily serviced small businesses in and around St. Lucie, Martin and

Palm Beach Counties, Florida.

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BROWN’s Failure to Fully Pay Trust Fund Taxes for the Brown Entities

8. From at least 2014 through 2022, BROWN exercised ultimate control over Elite
Payroll’s financial affairs and operations. BROWN signed Forms 941 for Elite Payroll as
President, Thus, BROWN, was a responsible person, that is, he had the responsibility to collect,
truthfully account for on Forms 941, and pay over to the IRS on behalf of Elite Payroll the trust
fund taxes collected from its clients’ employees.

9. On or about January 31, 2020, for the calendar quarter ending December 31, 2019,
in the Southern District of Florida, BROWN filed, or caused to be filed, a false Form 941 which
understated Elite Payroll’s employment tax liabilities for that quarter by nearly one million dollars.
Knowing this return was false, Brown willfully failed to truthfully account for and pay over the
trust fund taxes due and owing on behalf of the employees of Blite Payroll.

10. BROWN filed this false return and willfully failed to pay these trust fund taxes as
part of a larger scheme. For each of the entities identified as the Brown Entities in Exhibit A,
BROWN was ultimately responsible for the payment of employment taxes. For each of the Brown
Entities, BROWN filed, or caused to be filed, false Forms 941 which understated the entities’
employment tax liabilities. Knowing these forms were false, BROWN willfully failed to pay
approximately $15,000,000 in employment taxes for the Brown Entities.

11. On multiple occasions, the IRS sent BROWN and the Brown Entities notices that
it had detected underreporting for a specific quarter. BROWN sent, or caused to be sent,
correspondence to the IRS claiming any underreporting was the result of an error at Elite Payroll
and offered to pay any balance and interest due for that quarter. BROWN knew this to be false

and did so to avoid further scrutiny from the IRS.

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‘correspondence to the IRS and to the EPS Clients claiming any underreporting was the result of
an error at Elite Payroll and offered to pay any balance and interest due for that quarter. BROWN
knew this to be false and did so to avoid further scrutiny from the IRS and from the EPS Clients.

18. Instead of paying over the funds he held in trust for his clients, BROWN purchased

commercial and residential real estate including his multi-million dollar home and a collection of _

high end luxury cars.

19. The defendant is aware of and understands the nature of the charges to which she
is pleading guilty and understands that had it proceeded to trial, the United States would have had
to prove the following elements beyond a reasonable doubt:

Count One: Title 26, United States Code, Section 7202

(1) The Defendant had the duty to collect, truthfully account for, and pay over a tax;

(2) The Defendant failed to collect, truthfully account for, or pay over the tax; and

(3) The Defendant acted willfully.

Count Two: Title 26, United States Code, Section 7206(2)

(1) The Defendant aided or assisted in, procured, counseled, or advised the preparation
or presentation of a document in connection with a matter arising under the internal
revenue laws; ‘

(2) The document was false as to a material matter; and

(3) The Defendant acted willfully.

A false matter is “material” if the matter was capable of influencing the Internal Revenue
Service.

To prove the Defendant acted willfully, the government must show that the Defendant

voluntarily and intentionally violated a known legal duty.

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EXHIBIT A
In conjunction with the parties’ plea agreement, the United States and the Defendant,
Matthew S. Brown, have agreed to restitution to the Internal Revenue Service (“IRS”) in the
amount of $22,401,585. The chart below provides a breakdown of restitution amounts owed based
on the years balances accrued for specific entities. As stated in Plea Agreement paragraph 10(e),
the Defendant reserves the right to reduce this restitution amount and receive credit for any

payments made to the IRS towards unpaid employment tax liabilities associated with these entities.

The EPS Clients
UNPAID EMPLOYMENT
CLIENT EIN YEARS TAXES
. 90- 2019-
Gruber Saks Construction, LLC 0873093 3020 $695,118.00
. 59- 2018-
Davis Brothers, LLC 1495341 099 $2,113,984.00
Factory Direct Supply WPB, LLC |. 4° 2018- $1,992,692.00
actory VIFEC! SUPPIY , 2159293 | 2022 077A he
. . 90- 2017-
Haynes Security Services, Inc. 0781732 022 $1,509,015.00
VM Iron Work and Structural Steel 65- 2020-
Corp. 0653784 | 2022 $648,811.00
Total $6,959,620.00
The Brown Entities
UNPAID
ENTITY EIN YEARS EMPLOYMENT
TAXES
Propane Services, Inc. XX-XXXXXXX 2017-2021 $1,297,823 .00
AC Care Heat and Air, Inc. XX-XXXXXXX 2019-2021 $382,315.00
Matthew Brome Associates, | 651002313. | 2015-2021 $13,761,827.00
Total $15,441,965

